Case 7:20-cr-00410-NSR Document 20

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA
ORDER
-against-
20 Cr. 410 (NSR)
MYRON WAGNER,
Defendant.
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NELSON S. ROMAN, U.S.D.J.:
The C.J.A. attorney assigned to this case __ Joseph P. Facciponti is hereby ordered substituted
Attorney's Name

and the representation of the defendant in the above captioned matter is assigned to C.J.A. attorney

Theodore S. Green
Attorney's Name

 

Clerk of Court requested to terminate the motion (doc. 18).

SO ORDERED.

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Pea

 

NELSON S. ROMAN,
UNITED STATES DISTRICT JUDGE

Dated: White Plains, New York
November 5, 2020

 

 

 

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